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                                                                                AUG8-20I8
                     IN THE UNITED STATES DISTRICT COURT cler , Ij« r)| (i|(.( r
                      FOR T E EASTERN DISTRICT OF TEXAS U Texas
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                 §
                                          §
V.                                        § CRIMINAL NO. 4:18-CR-
                                          §
 SERGIO CAMPOS                            §
                                     INDICTMENT

 THE UNITED STATES GRAND JURY CHARGES:

                                        Count One

                                                  Violation: 18U.S.C. § 1546(a)
                                                  (Possession of false immigration
                                                  document)

       That from in or about September 28, 2015, to on or about August 7, 2018, in the

 Eastern District of Texas, Sergio Campos, defendant, did knowingly possess and use a

 Permanent Resident Card, bearing the name Ser io Campos and a Permanent Resident

Alien number A *****4268, belonging to another, knowing that the document was

 falsely made.

       All in violation of 18 U.S.C. § 1546(a).

                                          Count Two

                                                  Violation: 42 U.S.C. § 408(a)(7)(B) (Use
                                                  of Unauthorized Social Security
                                                  Number)

       That f om in or about September 28, 2015, to on or about August 7, 2018, in the


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 Eastern District of Texas, Sergio Campos, defendant, did knowingly for the purpose of

 obtaining a benefit to which he is not entitled or some other purpose and with intent to

 deceive, falsely represent that a Social Security Account Number, ***-**-0540, had been

assigned by the Commissioner of Social Security to him, knowing full well that he was

not assigned that number.

       All in violation of 42 U.S.C. § 408(a)(7)(B).

          NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
       As a result of committing the offense charged in this Indictment, the defendants

shall forfeit to the United States, pursuant to 18 U.S.C. §982(a)(6), all property used to

commit or facilitate the offenses, proceeds from the offenses, and property derived from

proceeds obtained directly or indirectly from the offenses, including but not limited to the

following:

        All such proceeds and/or instrumentalities are subject to forfeiture by the

government.


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JOSEPH D. BROWN
UNITED STATES ATTORNEY



kevin McClendon
ASSISTANT UNITED STATES ATTORNEY
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

UNITED STATES OF AMERICA                  §
                                          §
v.                                        § CRIMINAL NO. 4:18-CR-
                                          §
SERGIO CAMPOS                             §

                                NOTICE OF PENALTY

                                        Co nt One


Violation: 18U.S.C. § 1546(a)

Penalty: Imprisonment of not more than ten (10) years, a fine not to exceed
$250,000.00, or both; a term of supervised release not to exceed three (3) years.


Special Assessment: $100.00


                                        Count Two


Violation: 42 U.S.C. §408(a)(7)(B)

Penalty: Imprisonment of not more than five (5) years, a fine not to exceed $250,000.00,
or both; a term of supervised elease not to exceed th ee (3) years.


Special Assessment: $100.00




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